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                     EXHIBIT C TO JOINT TRIAL MEMORANDUM

                           STIPULATIONS OF FACT AND LAW:



 I.   STIPULATIONS OF FACT

          1. WhitServe LLC ("WhitServe") is a Connecticut limited liability company having

      a place of business at 986 Bedford Street, Stamford, Connecticut, 06905-5619.

          2. Computer Packages, Inc. ("CPi") is a Maryland corporation having a place of

      business at 414 Hungerford Drive, Third Floor, Rockville, Maryland 20850.



II.   STIPULATIONS OF LAW

          1. The jury instructions attached as Exhibits L and M, to the extent agreed upon by

      the parties, reflect the parties' stipulations of law.




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